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NO WORK TO BE DONE
IN SHADED AREA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

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LIFE SAFTEY LEGEND

 

 

 

EGRESS PLAN

3/32" = 1'-0"

<@ = PATH OF EGRESS TRAVEL

NORTH

EMERGENCY LIGHT W/
BATT. BACKUP

WY REMOTE EMERGENCY EGRESS
LIGHT W/ BATT. BACKUP

4 EMERGENCY LIGHT

(x) EXIT SIGN

 

 

! |

 

NO WORK TO BE DONE a
IN SHADED AREA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(<p DIRECTIONAL EXIT SIGN

# Name Floor Finish Base Finish Wall Finish Ceiling Finish Area Comments

101 |ENTRY C. TILE C.TILE DRYWALL PAINTED 2'-0" x 2-0" LAY-IN 551 SF

102 |OFFICE CARPET VINYL DRYWALL PAINTED 2'-0" x 2'-0" LAY-IN 182 SF

103 |CLO. CARPET VINYL DRYWALL PAINTED 2'-0" x 2-0" LAY-IN 21 SF

104. |CHANGING ROOM LVT VINYL DRYWALL PAINTED 2'-0" x 2-0" LAY-IN 474 SF

105 |V.LP. LVT VINYL DRYWALL PAINTED 2'-0" x 2'-0" LAY-IN 795 SF

5
WIDT FIRE HARDWAR| CARD WEATHER| DOOR B.F.
MARK |HEIGHT| H RATING | PANEL MATERIAL | FRAME MATERIAL ESET | ACCESS |GASKET| PACKAGE STOP HARDWARE
102A __—|6'- 8" 3'- 0" S.C. WOOD H.M. 1 X X
103A__——|6'- 8" 3'- 0" S.C. WOOD H.M. 2 X X
104A ‘|6'- 8" 3' - 0" S.C. WOOD H.M. 2 X X
105A —‘|6'- 8" 3'- 0" 3HR S.C. WOOD H.M. 2 X X X
105Bs|6"- 8" 6'- 0" METAL N/A 3 X
105C —‘|6"- 8" 6'- 0" METAL N/A 3 X
105D_‘|6'- 8" 6'- 0" METAL N/A 3 X
105E —|6'- 8" 6'- 0" METAL N/A 3 X
105F _[6'- 8" 6'- 0" METAL N/A 3 X
105G___—([6'- 8" 6'- 0" METAL H.M. 3 X
105H __|6'- 8" 6' - 0" METAL N/A 3 X
Grand total: 11
INTERIOR FINISH NOTES
1.) FLUSH SOLID CORE DOORS SHALL BE PRE-FINISHED AS MANUFACTURED BY MOHAWK. 9.) | CELINGS:

5.)

6.)

7.)

8.)

METAL DOORS ( TO BE PAINTED )
DOORS SHALL BE 1-3/4" THICK, FORMED OF 20 GAUGE,

COLD ROLLED, PRIME QUALITY STEEL EQUAL TO STEELCRAFT
L-20 DOORS. FULL FLUSH PANEL.

ALUMINUM ENTRANCE DOORS & FRAMED TO BE MANUFACTURED BY TUBELITE OR KAWNEER,
COLOR: CLEAR ANODIZED

METAL FRAMES ( TO BE PAINTED )
METAL DOOR FRAMES FOR 1-3/4" DOORS SHALL BE MADE OF

16 GAUGE COLD ROLLED PR M QUALITY STEEL EQUAL TO
STEELCRAFT F-16 FLUSH FRAMES. SIZE AS SHOWN ON DRAW NGS.

METAL DRYWALL FRAMES (TOBE PAINTED )

METAL DOOR FRAMES FOR 1-3/4" DOORS SHALL

BE FABRICATED FROM 16 GAUGE COLD ROLLED QUALITY STEEL
EQUAL TO STEELCRAFT DW-16 DRYWALL FRAMES.

HARDWARE:

ALL HARDWARE SHALL BE YALE 5400LN SERIES PACIFIC BEACH BRUSHED ALUMINUM
SURFACE
ALL CLOSERS SHALL BE MANUFACTURED BY LCN CLOSERS, DIVISION OF SCHLAGE LOCK CO.
WALL OR FLOOR BUMPERS SHALL BE INSTALLED AT EVERY DOOR AND SHALL BE AS

MANUFACTURED BY RUSSWIN OR EQUAL.

WALL BASE TO BE SOLID WOOD TO MATCH WALL F NISH

PAINTING:

SHERWIN WILLIAMS, PRIMER; "PREP-RITE" CLASSIC NTERIOR LATEX PRIMER WHITE
GALVANIZED METAL: LATEX, SEMI-GLOSS, EGG SHELL, FLAT FINISH
FERROUS METAL: LATEX, SEMI-GLOSS, EGG SHELL SATIN, FLAT FINISH

GALVANIZED, CEILINGS, DUCTWORK: DRYFALL WATERBORNE SYSTEM, EGG SHELL FINISH
DRYWALL: LATEX; SEMI-GLOSS, EGG SHELL, FLAT FINISH
MASONRY: EPOXY; (WATER BASE) GLOSS FINISH

WOOD, WALLS, CLGS, DOORS & TRIMS: LATEX; SEMI-GLOSS, EGG SHELL, FLAT FINISH

AS INDICATED ON REFLECTED CE LING PLAN

10.) SPECIAL ITEMS:

11.)

12.)

13.)

14.)

15.)

16.)

RESTROOM COUNTER TOPS & BACKSPLASH: COLORS AS SPECIFIED.
FURNITURE SHOWN W LL BE SPECIFIED BY OWNER

PROVIDE CORNER GUARDS @ ALL 90 DEG CORNERS

RESTROOM:

HAND DRYER: XLERATOR, MODEL #XL-SB, BRUSHED STAINLESS STEEL COVER
"BOBRICK"SOAP DISPENSERS B 8266, GRAB BARS,

#B-360P, PROV DE DBL-ROLL SURFACE MOUNT PAPER DISPENSER #B-27460
SURFACE MOUNT SANITARY NAPKIN DISPOSAL #B-270, ST STL GRAB BARS

#B-490 SERIES BOBRICK FRAMELESS ST STL MIRROR #B-1556

JANITOR ROOM: MOP HOLDERS: #B-224, PAIL HOOK: #B-220, HOSE HOLDER #B-640

SIGNAGE: RAISED LETTER SIGNAGE WITH BRA LLE AT ENTRIES, RESTROOMS, JANITOR CLOSET,
AND MECHANICAL ROOMS

PROVIDE FIRE EXT NGUISHERS AND RECESS CABINETS AS REQUIRED.

SEE PLUMB NG DRAWING FOR SPEC FIED FIXTURES.

LINE OF EXISTING 3 HR. FIRE BARRIER

EXISTING PLUMING FIXTURES TO BE
REMOVED. CAP ALL ABANDONED
LINES AS REQUIRED

 

EXISTING REMOVE PORTION OF EXISTING
SHOW BAR WALL AND PROVIDE NEW 3
HOUR FIRE BARRIER

EXISTING
COUCH CAVES

PROVIDE NEW 3

    
  

 

EXISTING WALL TO BE
J raroven |

 

 

 

 

 

 

 

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FRAME TO REMAIN

ne EXIST. FIRE DOOR &

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|HOUR FIRE BARRIER CLERK —
| 4:-gr || COUNTER J | 5'-0"
| L 4+
'
EXISTING 3 HOUR FIRE BARR ER ——=
LITIT PITT TTT Tt tty |
' 12"x15" LOCKER NEW FJ
| (TYP. OF 55) DRESSING RM, [_|
' EXISTING =
| PEEP ROOM =
| |
| + |
| [TTTTTTT TTT ttt ttt ttt |
L NE OF Exist NG 3 HR. FIRE BARR ER j 23' - 9 5/8" |

LINE OF EXIST NG 3 HR. FIRE BARRIER

OVERALL FLOOR PLAN

 

 

 

 

1/8” = 1'-0"
SET #1 SET #2
1.5 EA. BALL BEARING SELF CLOSING H NGES 1.5 EA. BALL BEARING HINGES
1 EA. LOCKSET HARDWARE 1 EA. PASSAGE HARDWARE
1 EA. DOOR STOP 1 EA. DOOR STOP

 

PASSAGE HARDWARE
NON-BINDING TRACK

INTERIOR FINISH MATERIALS

 

ALL INTERIOR F NISHES ARE TO MEET CHAPTER 8 OF THE M.B.C. FINISH MATERIALS ARE TO BE
CLASSIFIED INACCORDANCE WITH ASTM E 84 OR UL 723 AND ARE TO HOLD MATERIAL SMOKE
DEVELOPMENT INDEXES AS SHOWN BELOW FOR EACH INTERIOR OCCUPIED SPACE:

NTERIOR EXIT STAIRWAYS, EXIT RAMPS, AND EXIT PASSAGEWAYS = CLASS A

CORRIDORS AND ENCLOSURE FOR EXIT ACCESS STAIRWAYS AND EXIT ACCESS RAMPS = CLASS A

ROOMS AND ENCLOSED SPACES = CLASS B

MATERIAL SMOKE DEVELOPMENT INDEXES:

CLASS A: = FLAME SPREAD INDEX: 0-25
SMOKE DEVELOPMENT NDEx: 0-450
CLASS B: = FLAME SPREAD INDEX: 26-75
SMOKE DEVELOPMENT NDEx: 0-450
CLASS C: = FLAME SPREAD INDEx: 76-200

SMOKE DEVELOPMENT NDEx: 0-450

NORTH

7 1/2 in
[191 mm]

 

 

UL U426 DETAIL
INTERIOR PARTITIONS: STEEL STUD (LOAD-BEARING)

 

FIRE RATING: 3 HOUR
STC: N/A GENERAL NOTES:
SOUND TEST: N/A

SYSTEM THICKNESS: 7-1/2"

24 in
[610 mm]

ASSEMBLY OPTIONS:

GYPSUM BOARD:

STEEL STUDS:

GYPSUM BOARD:

 

 

~~ REMOVE AND REPLACE

ALL FIRE DAMAGED

WALLS AND REPLACE

WITH NEW (TYPICAL)
I

1. SEE COMPLETE UL SPECIFICATION, SHEET A102

2. BE SURE TO FOLLOW UL SCREW PATTERN SPECIFICATION

3. CONTRACTOR TO FOLLOW INSPECTION PROTOCAL PER
CITY REQUIREMENTS

24 in
[610 mm]

3-1/2 IN. DEEP, 20 GA. SPACED MAX. 24 IN. O.C.

 

FOUR LAYERS OF 1/2 IN. THICK GYPSUM BOARD APPLIED HORIZONTALLY OR VERTICALLY.

FOUR LAYERS OF 1/2 IN. THICK GYPSUM BOARD APPLIED HORIZONTALLY OR VERTICALLY.

J AREA OF WORK (2,123 SF. +/-)

 

 

 

 

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KEY PLAN

1" = 30'-0"

NORTH

 

Architect:

 

MAMAG

 

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4488 WEST BRISTOL ROAD, SUITE 200, FLINT, MI 48507 PH: (810) 230-9311

 

Contractor:

 

 

PROPOSED INTERIOR REMODEL FOR:

DEJA VU YPSILANTI

31 N. WASHINGTON STREET YPSILANTI MICHIGAN 48197

 

Project Phase:

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FLOOR PLANS

 

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WALL TO RUN UP TO BOTTOM
OF EXISTING ROOF DECK

ANY PENETRATIONS INTO/THRU FIRE
BARRIER ARE TO BE PROTECTED TO
MATCH FIRE BARRIERS UL SPEC

FIRE BARRIER TO MEETS
SPECIFICAITONS OF UL #U426

REPAIR CEILING GR D AS REQUIRED PER
CONSTRUCTION OF NEW FIRE BARRIER
(TYPICAL)

EXISTING LAY-IN CEILING _/

 

  

 

 

 

 

 

EXISTING ROOF DECK

17'-10" 4/- (EX ST NG ROOF HE GHT)

> PROVIDE FIRE DAMPERS FOR

ANY/ALL EXISTING DUCTS THAT WILL
PENETRATE FIRE BARR ER

EXISTING LAY-IN CEILING

    
 

9'- 10"
EX STNG CEL NG

8' . 0"

3 1/2", 20ga METAL ——
STUD WALL @ 24" 0.C.

‘ee 4 LAYERS OF 1/2",
DRYWALL EA. S DE

EXISTING EXISTING FLOOR

PROV DE NEW FLOOR
COVERING TO MATCH \
FRAMING

 

 

 

 

 

 

2 Wn FLOOR PLAN

i | = 100' - 0"

\ PROVIDE NON COMBUST BLE 2x8 FRAMING
@ 16" 0.C. ALONG LENGTH OF NEW FIRE
BARRIER

 

 

 

 

 

SISTER EXISTING FLOOR
FRAMING WITH NON

COMBUST BLE 2x8 FRAM NG WITH
(2) 3/8" LAG BOLTS AT 48" O.C.

UL #426 FIRE BARRIER
(3 WALL SECTION
Xqroeiarog) 3/4" = 1'-0"

 

REPAIR EXIST NG
CE LING AS REQUIRED

    

ee

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V

 

NEW LAY-IN CEILING

PROV DE SOUND
ATTENUATION BATT
NSULATION

WALL @ 16" 0.C.

3 5/8" METAL STUD oN

EXIST NG FLOOR
FRAMING

 

 

 

  
  
  
  
       
       
       
  
  
  
  
       
       
     
  
  
  

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IN-FILL EXISTING OPENING
TO MATCH EXISTING &
MEET SPEC OF UL #U426

 

 

  

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8' . 0"

 

NEW 5/8" DRYWALL
EA. SIDE

CEL NG HE GHT

NEW RECESSED LIGHT FIXTURE.
CONNECTED TO EXIST NG CIRCUIT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CONNECT NEW FIRE
BARR ER TO EXISTING
FIRE BARRIER PER UL

SPEC FICATIONS

REMOVE PORTION OF EXISTING |

WALL AND PROV DE NEW 3 HOUR

PROVIDE NEW FLOOR
COVER NG TO MATCH EXISTING

(2\ TYP. WALL SECTION

 

Xeroajatog) 3/4" = 1'-0"

 

 

REPAIR EXIST NG CEILING ——~1|
AS REQUIRED

CLR

1'- 10"

 

3 5/8" METAL STUD ——Y
WALL @ 16" 0.C.

l

9' - 10"
CEL NGHE GHT

8' . 0"
TOP OF WALL

EXISTING FLOOR —
FRAM NG

 

 

 

NOTE:
NO CEILINGS ARE PROVIDED IN
VIP ROOMS

NEW 5/8" DRYWALL EA.

 

 

 

 

 

SIDE

MATCH EXISTING

/ PROVIDE NEW FLOOR COVER NG TO

FLOOR PLAN

(4 TYP. VIP WALL SECTION

 

Xeroaiasog) 3/4" = 1'-0"

FIRE BARRIER

 

NOTE:

 

   

[I
“ . M4" - 0" CLERK
< COUNTER
a >» a
co
ENTRY
4 : 101
Z
4
| | RELOCATE EXISTING
12"x15" LOCKER / io st —_] LIGHT FIXTURES AS
(TYP. OF 55) = REQUIRED. CONNECT
L = TO EXISTING CIRCUIT
- CHANGING ROOM © (PICAL)
B &
EXISTING 3 HOUR FIRE BARRIER WALL _ 104
in
N
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el_|
f x x =
+ '
| | 8-05/8" / 12-6" w | 6'-3"
7A
/ .
VANITY COUNTER VY ©
a
N
a
N-FILL EXISTING OPENING TO 23= 9 5/8"
MATCH EXIST NG & MEET 7
SPEC OF UL #U426
(1>, ENLARGED FLOOR PLAN
Xerorfarog) 1/4" = 1'-0"
NORTH

 

FIRE BARRIER IS TO BE CONTINUOUS
FROM FLOOR TO BOTTOM OF ROOF
DECK
N104A) I

EXIST. FIRE DOOR &

 

 

 

 

 

 

 

FRAME TO REMAN

 

 

 

 

 

 

   

(TYPICAL)
N
N | Idi Ill
7-2" 47/8" 7-41" 47/8" 7-2" 4 7/8" 7-2" EXIST. LAY-IN LIGHT
FIXTURE. CONNECTED
TO EXISTING CIRCUIT
VIP VIP #2 VIP #3 VIP #4 (TYPICAL)
~ =i XY = oy oO /
fo > > set > iy >
7
I CONNECT TO EXISTING _~
LIGHTING CIRCUIT
. 105H 105G 105F
=< eS | —_——————_—— 71 i =~ f — a V l P
— T J a a als .
~ fs - 3-0" SLIDING DOOR (TYP.)
0 105
co
oo NEW 35/8" METAL STUD
— ——————-— Qs fo WALL WITH 5/8"
SS a R DRYWALL
105C) ~ 4
. VIP #5 CONNECT TO EXISTING —
= —_—_—— RECEPTACLE CIRCUIT \
er xX = x ~ Cy x sy
roe)
(3 \ > > > 6 41
area) VIP #6 VIP #7 # x
N
7-2" 47/8" 7-41" 47/8" 7-4" 47/8" 7-0" 47/8" S ——S
\ Vis "4
REMOVE EXISTING WALL AND PROVIDE CONNECT NEW FIRE BARR ER TO $$ :
ae EXISTING FIRE BARRIER PER UL } | “
NEW 3HR FIRE BARRIER SPECIFICATIONS Jol ©
2x4 LAY-INLIGHTS— _/
RECESSED LIGHTS — OFFICE
NEW FIRE BARRIER TO MEET UL #U426

 

102

 

 

 

16' - 3 7/8" \a102/

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ELECTRICAL LEGEND

 

 

 

 

 

ev tb x

2x4 LAY-IN LIGHT (EXISTING)

RECESSED LIGHT FIXTURE
WALL RECEPTACLE
DATA

SINGLE POLE SWITCH

 

 

 

 

 

- ‘
©
N
= REMOVE AND REPLACE
ALL FIRE DAMAGED
WALLS AND REPLACE
WITH NEW (TYPICAL)
ALL EXISTING LIGHTING
IS TO BE REMOVED AND
REPLACED

 

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Architect:

 

 

Contractor:

 

31 N. WASHINGTON STREET YPSILANTI MICHIGAN 48197

PROPOSED INTERIOR REMODEL FOR:

 

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